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13
                                UNITED STATES DISTRICT COURT
14                            NORTHERN DISTRICT OF CALIFORNIA
15

16   EPIC GAMES, INC.,                                   Case No. 3:20-cv-05671-JD
17           Plaintiffs                                  ADMINISTRATIVE MOTION TO
18                                                       CONSIDER WHETHER CASES
     v.                                                  SHOULD BE RELATED PURSUANT
19                                                       TO CIVIL L.R. 3-12
     GOOGLE LLC et al.
20                                                       [Declaration and [Proposed] Order filed
             Defendants                                  herewith]
21

22                                                       JUDGE: Hon. James Donato

23
     THIS DOCUMENT RELATES TO:
24
     Korean Publishers Association, et al., v. Google
25   LLC et al., No. 4:25-cv-04686-KAW
26

27

28
     ADMINISTRATIVE MOTION TO RELATE CASES                                    CASE NO. 3:20-CV-05671-JD
         Case 3:20-cv-05671-JD          Document 721         Filed 06/06/25      Page 2 of 3




 1 TO THE COURT AND ALL OTHER PARTIES OF RECORD:

 2          PLEASE TAKE NOTICE that Plaintiffs Korean Publishers Association, Korea Electronic

 3 Publishing Association, PangSky Co., Ltd., and the proposed Classes in the above-entitled action

 4 (“Plaintiffs”) hereby move this Court to consider whether the following actions filed in the United

 5 States District Court, Northern District of California should be related:

 6            Case Name                                                Case No.              Filing Date

 7            Epic Games, Inc. v. Google LLC et al.                    3:20-cv-05671         08/13/2020

 8            Korean Publishers Association, et al., v. Google 4:25-cv-04686                 06/03/2025

 9            LLC et al.

10          The above-listed actions involve the same transactions and events and the same legal issues.

11 It is therefore likely that there would be “unduly burdensome duplication of labor and expense” or

12 conflicting results if the cases are conducted before different Judges. See Civil L.R. 3-12(a)(1) & (2).

13 Relating the two cases and placing them under the supervision of one judge is likely to save the Court

14 and the parties significant costs and may facilitate and expedite the resolution of the cases.

15                         MEMORANDUM AND POINTS OF AUTHORITIES

16 I.       THE TWO ACTIONS SHOULD BE RELATED

17          Pursuant to Civil L.R. 3-12(a), actions are related when: “(1) [t]he actions concern

18 substantially the same parties, property, transaction or event; and (2) [i]t appears likely that there will

19 be an unduly burdensome duplication of labor and expense or conflicting results if the cases are

20 conducted before different Judges.” Here, these criteria are met.

21          Both of the above-listed actions allege violations of Sections 1 and 2 of the Sherman Act, 15

22 U.S.C. §§ 1, 2, the California Cartwright Act, Cal. Bus. & Prof. Code §§ 16700, et seq., and

23 California’s Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200, et seq. Moreover, both of

24 the above-listed actions are brought by app developers against Google LLC and its subsidiaries

25 (“Google” or “Defendant”) and concern Google’s anticompetitive efforts to maintain its monopoly in

26 Android app distribution and payment processing and charge supracompetitive commissions for

27 transactions within the Google Play Store.

28          Plaintiffs in Korean Publishers Association heavily rely on publicly-available evidence from
      ADMINISTRATIVE MOTION TO RELATE CASES               -1-                       CASE NO. 3:20-CV-05671-JD
          Case 3:20-cv-05671-JD        Document 721        Filed 06/06/25      Page 3 of 3




 1 the Epic Games, Inc. v. Google LLC et al. case, including the four-week jury trial conducted before

 2 Judge James Donato. It is therefore likely that there will be “unduly burdensome duplication of labor

 3 and expense” or conflicting results if the cases are litigated before different Judges. See Civil L.R. 3-

 4 12(a)(1) & (2). Relating the two cases and placing them under the supervision of one judge will very

 5 likely save the Court and the parties significant costs and may facilitate and expedite the cases.

 6 II.       CONCLUSION

 7           For all of the reasons stated above, Plaintiffs hereby request that the Court in the lowest

 8 numbered case, Epic Games, Inc. v. Google LLC et al., enter an Order relating the two cases listed

 9 above to each other and reassigning the Korean Publishers Association action to Judge James Donato.

10

11       DATED: June 6, 2025
12
         Respectfully submitted,
13
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